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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
SETARA BEGUM SHETU                                    )        CASE NO. 20-61930-PMB
                           DEBTOR.                    )
---------------------------------------------------------------------------------------------------
                                                      )
NEWREZ LLC D/B/A SHELLPOINT                           )
MORTGAGE SERVICING AS                                 )
SERVICER FOR WILMINGTON                               )
SAVINGS FUND SOCIETY, FSB D/B/A )
CHRISTIANA TRUST, NOT IN ITS                          )
INDIVIDUAL CAPACITY BUT SOLELY )
AS OWNER TRUSTEE FOR                                  )
DEEPHAVEN RESIDENTIAL                                 )
MORTGAGE TRUST 2017-2                                 )
                           MOVANT,                    )
                                                      )        CONTESTED MATTER
V.                                                    )
                                                      )
SETARA BEGUM SHETU                                    )
MICHAEL J. BARGAR, TRUSTEE                            )
                           RESPONDENTS.               )
____________________________________)

                                          NOTICE OF HEARING

         NOTICE IS HEREBY GIVEN THAT a Motion for Relief from the Automatic Stay has
been filed in the above-styled case. In the event a hearing cannot be held within thirty (30) days
from the filing of the motion for relief from the automatic stay as required by 11 U.S.C. §362,
Movant waives this requirement and agrees to the next earliest possible date, as evidenced by
signature below. The undersigned consents to the automatic stay (and any related co-debtor
stay) remaining in effect with respect to Movant until the court orders otherwise.
         HEARING will be held at 1:30 P.M. on _April 5, 2021, in Courtroom 1202, U.S.
Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303.
         Given the current public health crisis, hearings may be telephonic only. Please
check the “Important Information Regarding Court Operations During COVID-19
Outbreak” tab at the top of the GANB Website prior to the hearing for instructions on
whether to appear in person or by phone. http://www.ganb.uscourts.gov/news/public-
notice-regarding-court-operations-during-covid-19-outbreak.
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       Your rights may be affected by the Court’s ruling on these pleadings. You should read
these papers carefully and discuss them with your attorney, if you have one in this bankruptcy
case (if you do not have an attorney, you may wish to consult one). If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response, you
must attach a certificate stating when, how and to whom (including addresses) you served the
response. Mail/deliver your response so it is received by the Clerk at least two (2) business days
before the hearing. The address of the Clerk’s office: Clerk, Room 1340, U.S. Courthouse, 75
Ted Turner Drive, SW, Atlanta, GA 30303.
       You must also mail a copy to the undersigned at the address below. In the event a
hearing cannot be held within thirty (30) days from the filing of the motion for relief from the
automatic stay as required by 11 U.S.C. §362, Movant waives this requirement and agrees to the
next earliest possible date, as evidenced by signature below. The undersigned consents to the
automatic stay (and any related co-debtor stay) remaining in effect with respect to Movant until
the Court orders otherwise.
Given the current public health crisis, hearings may be telephonic only. Please
check the “Important Information Regarding Court Operations During COVID-
19 Outbreak” tab at the top of the GANB Website prior to the hearing for
instructions on whether to appear in person or by phone.



                                                             /s/Chad R. Simon
                                                             Chad R. Simon
                                                             Georgia Bar No. 646919
                                                             Bonial & Associates
                                                             Chad R. Simon
                                                             Managing Georgia Attorney
                                                             P.O. Box 80727
                                                             Atlanta, GA 30366
                                                             (770) 856-9046
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                              NORTHERN DISTRICT OF GEORGIA
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IN RE:                                                )        CHAPTER 7
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V.                                                    )
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SETARA BEGUM SHETU                                    )
MICHAEL J. BARGAR, TRUSTEE                            )
                           RESPONDENTS.               )
____________________________________)

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW, NewRez LLC d/b/a Shellpoint Mortgage Servicing as servicer for

Wilmington Savings Fund Society, FSB d/b/a Christiana Trust, not in its individual capacity but

solely as owner trustee for Deephaven Residential Mortgage Trust 2017-2 (“Movant”), a secured

creditor in the above-captioned case, by and through counsel, and moves this Court to enter an

order granting its request for relief from the automatic stay imposed by 11 U.S.C. § 362 and

respectfully shows the Court as follows:

         1.       On February 2, 2020, Debtor filed a petition with the Bankruptcy Court for the

Northern District of Georgia under Chapter 11 of Title 11 of the United States Bankruptcy Code.

         2.       This case was converted to a Chapter 7 on July 28, 2020.
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       3.      Movant holds a Promissory Note secured by the Security Deed which describes

real property owned by Debtor and known as: 2828 Grey Moss Pass, Duluth, GA 30097

(“Property”). A copy of the Note, Security Deed and Assignment of Mortgage, are attached

hereto as Composite Exhibit “A” respectively.

       4.      Upon information and belief, the approximate payoff, exclusive of legal fees and

expenses incurred in the connection with the instant motion, due and owing to the Movant as of

February 24, 2021 is $1,587,6463.18.

       5.      Based on the Debtor’s schedules, the value of the Property is approximately

$1,800,000.00.

       6.      Debtor is in breach of the Note and Security Deed by failing to make the

necessary payments to Movant and is now due for the June 1, 2019. The total arrearages are

$241,538.43.

       7.      Cause exists for relief from the automatic stay. Direct mortgage payments are not

being made to the Movant. As such, Movant’s interests are not adequately protected.

       WHEREFORE, Movant prays the Court as follows:

       1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its

security interest in the Property including but not limited to any non-bankruptcy remedies to

foreclose and obtain possession;

       2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this

case and so Movant may immediately enforce and implement this order granting relief from the

automatic stay;

       3.      As an alternative to the relief prayed for above, grant adequate protection to

Movant for its interest in the Collateral;

       4.      Movant specifically requests permission to communicate with the Debtors and

Debtor’s counsel to the extent necessary to comply with applicable non-bankruptcy law; and
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      5.   Grant Movant such other and further relief as the Court deems just and proper.



                                                /s/Chad R. Simon
                                                Chad R. Simon
                                                Georgia Bar No. 646919
                                                Bonial & Associates
                                                Chad R. Simon
                                                Managing Georgia Attorney
                                                P.O. Box 80727
                                                Atlanta, GA 30366
                                                (770) 856-9046
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                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
Regular U.S. Mail and/or Electronic Mail to the parties listed on the attached service list, this
11th day of March, 2021.

SERVICE LIST

Setara Begum Shetu
3320 Moye Trail
Duluth, GA 30097

Paul Reece Marr
Paul Reece Marr, P.C.
Building 24, Suite 350
1640 Powers Ferry Road
Marietta, GA 30067

Michael J. Bargar
Arnall Golden Gregory, LLP
Suite 2100
171 17th Street, N.W.
Atlanta, GA 30363

Shawna Staton
Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303



                                                      /s/Chad R. Simon
                                                      Chad R. Simon
                                                      Georgia Bar No. 646919
                                                      Bonial & Associates
                                                      Chad R. Simon
                                                      Managing Georgia Attorney
                                                      P.O. Box 80727
                                                      Atlanta, GA 30366
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